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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
               v.                              :      Case No. 1:21-cr-00738-BAH
                                               :
MICHAEL OLIVERAS,                              :
                                               :
                          Defendant.           :


                                      NOTICE OF FILING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby notifies the Court of the submission of a video exhibit in support

of its Motion to Admit Evidence as Intrinsic Evidence or, in the Alternative, as “Other Acts” Evidence

Pursuant to Federal Rule of Evidence 404(b). See ECF 32. A v ideo exhibit has been submitted to the

Court and made available to defense counsel via the government’s file-sharing site, USAfx. T h e

v ideo exhibit will also be made available to the public consistent with Standing Order 21-28 issued

by the Chief Judge on May 14, 2021 upon order of the Court. T h e exhibit is briefly identified

and described below:


           •   Exhibit 1: Video interview of Defendant at rally in Philadelphia, Pennsylvania on
               November 7, 2020. (Video length: 1 minute, 10 seconds.)

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                                                 Respectfully submitted,

                                                 MATTHEW M. GRAVES
                                                 UNITED STATES ATTORNEY
                                                 D.C. Bar Number 481052


                                           By:   /s/ Anthony L. Franks
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                                                 /s/ Victoria A. Sheets
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                                       CERTIFICATE OF SERVICE

        I hereby certify that on October 26, 2022, I caused a copy of the foregoing motion to be served on

counsel of record via electronic filing.

                                                        /s/ Anthony L. Franks
                                                        Anthony L. Franks
                                                        Assistant United States Attorney
